               Case 6:24-bk-03843-LVV            Doc 89      Filed 02/07/25       Page 1 of 1

[jiffyordnh] [Bench Order No Hearing +]



                                              ORDERED.
   Dated: February 07, 2025




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                     Case No. 6:24−bk−03843−LVV
                                                                           Chapter 7

Chaim Levilev




________Debtor*________/


                    ORDER DENYING MOTION TO APPEAR REMOTELY VIA ZOOM

            THIS CASE came on for consideration without a hearing of the Motion to Appear Remotely
         via Zoom (Doc. 88 ), filed by unknown David Berenthal .

             The Court having considered the record, the Motion to Appear Remotely via Zoom is Denied
         .



            The Court in its discretion may file written findings of facts and conclusions of law at a later
         date.

             Service Instructions:

            Attorney David Berenthal is directed to serve a copy of this order on interested non−CM/ECF
         users and file a proof of service within three (3) days of entry of the order.

         *All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by
         two individuals.
